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 1   -                                                                     FILED IN THE
                                                                       U.S. DISTRICT COURT
                                                                 EASTERN DISTRICT OF WASHINGTON
 2
                                                                  Jan 06, 2025
 3                                                                    SEAN F. MCAVOY, CLERK




 4                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
 5

 6       NICHOLAS ROLOVICH,
                                                  NO. 2:22-CV-0319-TOR
 7                              Plaintiff,
                                                  ORDER ON CROSS MOTIONS FOR
 8            v.                                  SUMMARY JUDGMENT

 9       WASHINGTON STATE
         UNIVERSITY, an agency of the State
10       of Washington,

11                              Defendant.

12

13           BEFORE THE COURT are Plaintiff’s Motion for Partial Summary

14   Judgment (ECF No. 88) and Defendant’s Cross-Motion for Summary Judgment

15   (ECF No. 93). These matters were submitted for consideration with oral argument.

16   The Court has reviewed the entire, voluminous record and files herein and is fully

17   informed. For the reasons discussed below, Plaintiff’s Motion for Partial Summary

18   Judgment (ECF No. 88) is denied, and Defendant’s Cross-Motion for Summary

19   Judgment (ECF No. 93) is granted.

20




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 1                                     BACKGROUND

 2         This matter relates to the termination of Plaintiff’s employment from

 3   Washington State University (“WSU”) following the determination that Plaintiff’s

 4   religious exemption from the COVID-19 vaccine could not be accommodated.

 5   The following facts are drawn from Plaintiff’s Second Amended Complaint (ECF

 6   No. 53) and construed in a light most favorable to Plaintiff. Shwarz v. United

 7   States, 234 F.3d 428, 436 (9th Cir. 2000). Only four claims remain: (1) alleged

 8   violation of Title VII; (2) alleged violation of Washington Law Against

 9   Discrimination; (3) alleged breach of contract; and (4) alleged wage withholding.

10   Additional facts are contained in each parties’ Statement of Facts (the ones not

11   disputed). ECF Nos. 89, 94. The disputed facts are not considered.

12         Plaintiff Nicholas Rolovich was the head football coach for WSU from

13   January 14, 2020, until he was terminated on December 6, 2021. ECF No. 53 at 3.

14   WSU is an agency of the State of Washington, located in Pullman, Washington.

15   Id. Plaintiff would not get vaccinated for COVID-19 and ultimately claimed a

16   religious exemption.

17         On October 18, 2021, HR notified Plaintiff that his religious exemption

18   request would not be approved. The notice indicated there were questions about

19   the timing of Plaintiff’s asserted religious beliefs and that Plaintiff’s

20   accommodations would create an undue hardship to WSU. Plaintiff appealed the




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 1   termination to WSU President Schulz in accordance with the procedures outlined

 2   in his employment contract. President Schulz ultimately denied the appeal, which

 3   became the final decision of WSU, on December 6, 2021.

 4                                      DISCUSSION

 5         The Court may grant summary judgment in favor of a moving party who

 6   demonstrates “that there is no genuine dispute as to any material fact and that the

 7   movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). In ruling

 8   on a motion for summary judgment, the court must only consider admissible

 9   evidence. Orr v. Bank of America, NT & SA, 285 F.3d 764, 773 (9th Cir. 2002).

10   The party moving for summary judgment bears the initial burden of showing the

11   absence of any genuine issues of material fact. Celotex Corp. v. Catrett, 477 U.S.

12   317, 323 (1986). The burden then shifts to the non-moving party to identify

13   specific facts showing there is a genuine issue of material fact. See Anderson v.

14   Liberty Lobby, Inc., 477 U.S. 242, 256 (1986). “The mere existence of a scintilla

15   of evidence in support of the plaintiff’s position will be insufficient; there must be

16   evidence on which the jury could reasonably find for the plaintiff.” Id. at 252.

17         For purposes of summary judgment, a fact is “material” if it might affect the

18   outcome of the suit under the governing law. Id. at 248. Further, a dispute is

19   “genuine” only where the evidence is such that a reasonable jury could find in

20   favor of the non-moving party. Id. The Court views the facts, and all rational




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 1   inferences therefrom, in the light most favorable to the non-moving party. Scott v.

 2   Harris, 550 U.S. 372, 378 (2007). Summary judgment will thus be granted

 3   “against a party who fails to make a showing sufficient to establish the existence of

 4   an element essential to that party’s case, and on which that party will bear the

 5   burden of proof at trial.” Celotex, 477 U.S. at 322.

 6         A. Title VII, 42 U.S.C. § 2000e, et seq. and WLAD

 7         Section 703(a)(1) of Title VII of the Civil Rights Act of 1964 provides in

 8   relevant part:

 9         It shall be an unlawful employment practice for an employer . . . to
           discharge any individual, or otherwise to discriminate against any
10         individual with respect to his compensation, terms, conditions, or
           privileges of employment, because of such individual’s race, color,
11         religion . . . or national origin. . . .

12   42 U.S.C. § 2000e–2(a). Title VII claims for a failure to accommodate are

13   analyzed under a burden-shifting framework. Bolden-Hardge v. Off. of California

14   State Controller, 63 F.4th 1215, 1222 (9th Cir. 2023). First, a plaintiff must

15   establish a prima facie case of failure to accommodate. Id. If the plaintiff is

16   successful, the burden shifts to the defendant to show “it was nonetheless justified

17   in not accommodating the employee’s religious beliefs or practices.” Id.

18         To establish a failure-to-accommodate theory, the plaintiff must allege the

19   following: (1) he had a bona fide religious belief, the practice of which conflicts

20   with an employment duty; (2) he informed his employer of the belief and conflict;




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 1   and (3) “the employer threatened him with or subjected him to discriminatory

 2   treatment, including discharge, because of his inability to fulfill the job

 3   requirements.” Heller v. EBB Auto Co., 8 F.3d 1433, 1438 (9th Cir. 1993).

 4          The requirements to state a claim for a failure to accommodate under the

 5   WLAD are substantially similar to those under Title VII. See Kumar v. Gate

 6   Gourmet Inc., 180 Wash. 2d 481 (2014).

 7         Both the Ninth Circuit and the Supreme Court have cautioned against

 8   second-guessing the reasonableness of an individual’s asserted religious beliefs.

 9   Bolden-Hardge, 63 F.4th at 1223; Burwell v. Hobby Lobby Stores, Inc., 573 U.S.

10   682, 725 (2014) (citation omitted). While a court need not accept at face value a

11   plaintiff’s conclusory assertions of violations of religious beliefs, “the burden to

12   allege a conflict with religious beliefs is fairly minimal.” Bolden-Hardge, 63 F.4th

13   at 1223. However, the record does not support Plaintiff’s claim of religious

14   objection to the vaccination. Plaintiff frequently expressed secular concerns about

15   the COVID-19 vaccine to friends, family members and coworkers. In the

16   thousands of pages of discovery, Plaintiff does not invoke a religious objection to

17   the vaccine. This alone is a basis for denying Plaintiff’s claimed religious

18   objection.

19         But more importantly, the burden shifts to the defendant to demonstrate

20   “either that it initiated good faith efforts to accommodate reasonably the




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 1   employee’s religious practices or that it could not reasonably accommodate the

 2   employee without undue hardship.” Sutton v. Providence St. Joseph Med. Ctr.,

 3   192 F.3d 826, 830 (9th Cir. 1999) (citation omitted); see also Groff v. DeJoy, 600

 4   U.S. 447, 468 (2023). Undue hardship is an affirmative defense. Bolden-Hardge,

 5   63 F.4d at 1224. “What constitutes undue hardship must be determined within the

 6   particular factual context of each case.” Balint v. Carson City, Nev., 180 F.3d

 7   1047, 1054 (9th Cir. 1999). An accommodation may result in an undue hardship if

 8   there is “more than a de minimis cost to the employer . . . [or] more than a de

 9   minimis impact on coworkers.” Id. The assertion of an undue hardship may not be

10   premised on hypothetical or speculative hardships; there must be actual imposition

11   or disruption. Tooley v. Martin-Marietta Corp., 648 F.2d 1238, 1243 (9th Cir.

12   1981). Dismissal premised on undue hardship is proper “only if the defendant

13   shows some obvious bar to securing relief on the face of the complaint or in any

14   judicially noticeable materials.” Bolden-Hardge, 63 F.4d at 1224 (citation and

15   internal quotations omitted).

16         Defendant asserts that Plaintiff’s accommodation request would have

17   resulted in increased travel costs, harm to recruitment and fundraising efforts, and

18   damage to WSU’s reputation and donor commitments, in addition to an increased

19   risk of exposure of COVID-19 to student athletes, other coaching staff, the media

20   and the public. ECF No. 93. This unrebutted evidence shows “undue hardship.”




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 1         Defendant put forward unrebutted expert testimony that Plaintiff’s

 2   unvaccinated status materially increased the risk of spreading COVID-19 to others.

 3   Plaintiff has repeatedly refused to wear a mask during games and meetings.

 4   Defendant has shown that Plaintiff’s job as head football coach undisputedly

 5   required frequent interactions with students, coworkers, donors, the media, and

 6   others (hundreds of people). This created an undue hardship for Defendant and no

 7   other possible accommodation would have negated that risk. The overwhelming

 8   evidence shows that Plaintiff’s refusal to vaccinate would cause undue hardship to

 9   Defendant.

10         Defendant is entitled to summary judgment on both the Title VII and WLAD

11   claims.

12         B. Contract Claim and Wage Withholding

13         Defendant seeks summary judgment of Plaintiff’s claims for breach of

14   contract and wage withholding because Defendant had just cause to terminate

15   Plaintiff’s employment. In Washington, “just cause” is defined as “a fair and

16   honest cause or reason, regulated by good faith on the part of the party exercising

17   the power.” Baldwin v. Sisters of Providence in Washington, Inc., 112 Wash. 2d

18   127, 139 (1989). When an employee is discharged for “just cause,” the discharge

19   may not be “arbitrary, capricious, or illegal” and must be based on facts that are

20   supported by substantial evidence and are reasonably believed by the employer to




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 1   be true. Id. Here, Defendant had just cause to terminate Plaintiff’s employment.

 2   Accordingly, these two claims are denied.

 3         In consideration of all the undisputed evidence and ignoring the speculative

 4   evidence, the Court finds that Defendant’s Motion for Summary Judgment must be

 5   granted.

 6   ACCORDINGLY, IT IS HEREBY ORDERED:

 7         1. Plaintiff’s Motion for Partial Summary Judgment, ECF No. 88, is

 8              DENIED.

 9         2. Defendant’s Cross-Motion for Summary Judgment, ECF No. 93, is

10              GRANTED.

11         3. The Clerk of Court is directed to enter Judgment in favor of

12              Defendant Washington State University.

13         4. Defendants Motion to Stay Discovery, ECF No. 133, is DENIED as

14              moot.

15         The District Court Executive is directed to enter this Order and Judgment

16   accordingly and furnish copies to counsel and CLOSE the file.

17         DATED January 6, 2025.

18

19
                                   THOMAS O. RICE
20                              United States District Judge




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